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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

CATO INSTITUTE and
MACKINAC CENTER FOR PUBLIC POLICY,

             Plaintiffs,                                Case No. 1:23-cv-11906

v.                                                      Honorable Thomas L. Ludington
                                                        United States District Judge
MIGUEL CARDONA, et al.,

            Defendants.
________________________________________/


                                      JUDGMENT

      In accordance with the Opinion & Order issued today:

      It is ORDERED that Plaintiffs’ Complaint, ECF No. 1, is DISMISSED WITHOUT

PREJUDICE.

      Further, it is ORDERED that Plaintiffs’ ex parte Motion for Temporary Restraining Order

and Preliminary Injunction, ECF No. 7, is DENIED AS MOOT.

      This is a final order and closes the above-captioned case.


      Dated: August 14, 2023                            s/Thomas L. Ludington
                                                        THOMAS L. LUDINGTON
                                                        United States District Judge
